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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA
v. CASENO, Si¥te 49° Vaz a55
21 U.S.C. § 841(a)(1)

RANDI POTTER

INDICTMENT

The Grand Jury charges:
COUNT ONE

On or about December 1, 2017, in the Middle District of Florida, the
defendant,
RANDI POTTER,
did knowingly and intentionally possess with intent to distribute a controlled
substance, which violation involved 5 grams or more of methamphetamine, a

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Schedule II controlled substance, and is therefore punished under 21gF9:C.d
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In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)). sco =

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COUNT TWO

On or about December 4, 2017, in the Middle District of Florida, the

defendant,

RANDI POTTER,

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did knowingly and intentionally possess with intent to distribute a controlled
substance, which violation involved 5 grams or more of methamphetamine, a
Schedule II controlled substance, and is therefore punished under 21 U.S.C. §
841(b)(1)(B).
In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B).
COUNT THREE
On or about January 3, 2018, in the Middle District of Florida, the
defendant,
RANDI POTTER,
did knowingly and intentionally possess with intent to distribute a controlled
substance, which violation involved 50 grams or more of methamphetamine, a
Schedule II controlled substance, and is therefore punished under 21 U.S.C. §
841(b)(1){A).
In violation of 21 U.S.C. §§ 841(a)(1) and 341(b)(1)(A).
COUNT FOUR
On or about January 3, 2018, in the Middle District of Florida, the
defendant,
RANDI POTTER,
did knowingly and intentionally possess with intent to distribute a controlled

substance, which violation involved a quantity of cocaine base, a Schedule II
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controlled substance, and is therefore punished under 21 U.S.C. §
841(b)(1)(C).

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

FORFEITURE

1. The allegations contained in Counts One through Four are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 21 U.S.C. § 853.

2. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the
defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a)(1)
and (2), any property constituting, or derived from, any proceeds the
defendant obtained, directly or indirectly, as a result of such violation, and any
property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such violation.

3. The property to be forfeited includes, but is not limited to, the
following: $1,600 in U.S. currency, which represents proceeds of the offense.

A. If any of the property described above, as a result of any acts or

omissions of the defendant:

a. cannot be located upon the exercise of due diligence;
Db. has been transferred or sold to, or deposited with, a third
party;

Cc. has been placed beyond the jurisdiction of the Court;
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d. has been substantially diminished in value; or

e. has been commingled with other property, which cannot
be divided without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant
to 21 U.S.C. § 853(p).
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For aperson

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United States Attorney

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Taylor G. ‘Stout
Assistant United States Attorney

a es. Eeesten, Jr.
oe nt poe States Attorney
ty Chief, Violent Crimes and Narcotics Section
Case 8:18-cr-00499-VMC-J_S Document1 Filed 10/25/18 Page 5of5PagelD5
FORM OBD-34
October 18 No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA
vs.

RANDI POTTER

INDICTMENT

Violations: 21 U.S.C. § 841(a)(1)

GP

” Foreperson

Filed in open court this 25" day of October 2018.

Clerk

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